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  Revised 1/14/2015


  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -------------------------------------------------x

  Zsa Zsa Jewels, Inc.
                                     Plaintiff(s),
                                                                 CIVIL PRETRIAL ORDER
             -against-
                                                                 CV-15-6519 (ILG)
  BMW of North America, LLC

                                      Defendant(s).
  -------------------------------------------------x
  GLASSER, United States District Judge:

             Good cause appearing, it is ORDERED that at least 14 days before trial:

  (a) The parties shall file, with courtesy copies to the Court, a joint pretrial order which shall
  include:

          (1) Statement of stipulated facts. Attorneys should make every effort to agree as to
  stipulated facts and to narrow the issues prior to trial.

             (2) Schedules of exhibits to be offered in evidence. Exhibits shall be pre-marked by the
  parties.

          (3) Witness lists, including names and addresses of all witnesses, together with a brief
  narrative statement of the expected testimony of each witness.

           (4) Expert witnesses. The names and addresses of expert witnesses to be called at trial,
  together with a description of their qualifications and copies of their reports prepared for the
  litigation and a summary of their proposed testimony sufficiently detailed to permit effective
  cross-examination.

         (5) Hearsay evidence. The parties shall identify any material to be relied upon pursuant
  to Federal Rules of Evidence, Rule 803(18). Notice pursuant to Federal Rules of Evidence,
  Rules 803(24) and 804(b)(5), shall be given at the same time.

         (6) Deposition testimony. A designation by each party of deposition testimony to be
  offered in its case in chief, with any cross-designations and objections by any other party.

  (b) The parties shall file trial briefs which shall include:

             (1) A summary of the facts of the case.
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          (2) A summary of the evidence, or lack of evidence, supporting the position of the
  briefing party.

         (3) Significant issues of law with authorities deemed to be controlling, that will have to
  be determined before or during trial.

  (c) The parties shall file motions in limine addressed to any proposed exhibits, lay or expert
  witness testimony sought to be introduced at trial.

  (d) If the case is to be tried to a jury the parties shall submit:

           (1) Proposed voir dire questions;
           (2) Proposed jury instructions with citations of authorities; and
           (3) Proposed verdict forms, special verdict forms, and proposed
                  special interrogatories to the jury, if applicable.

  (e) If the case is to be tried to the Court without a jury, each party shall submit proposed
  findings of fact, conclusions of law, and an order of judgment.


          It is certified that the attorneys in this case shall be required to appear in this court
  for trial on March 15, 2021 at 10:00 a.m. and for a final pretrial conference on
  March 9, 2021 at 2:30 p.m.

  Dated:          Brooklyn, New York
                  July 10, 2020                   ,


                                                                 /s/
                                                  I. Leo Glasser
                                                  United States District Judge




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